                                                  UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA




In re: Mordechai Koka                                                         Case No.                      20-50469 SLJ

                                                                              AMENDED CHAPTER 11
                                                                              MONTHLY OPERATING REPORT
                                                                              (SMALL REAL ESTATE/INDIVIDUAL CASE)

                                                     SUMMARY OF FINANCIAL STATUS

        MONTH ENDED:               09/30/20                                 PETITION DATE:                     03/10/20

1.      Debtor in possession (or trustee) hereby submits this Monthly Operating Report on the Accrual Basis of accounting (or if checked here
        the Office of the U.S. Trustee or the Court has approved the Cash Basis of Accounting for the Debtor).
        Dollars reported in    $1
                                                                           End of Current               End of Prior                  As of Petition
2.      Asset and Liability Structure                                            Month                     Month                          Filing
        a. Current Assets                                                           $216,007                      $11,048
        b. Total Assets                                                            $4,352,753                  $4,147,794                   $4,147,794
        c. Current Liabilities                                                             $0                          $0
        d. Total Liabilities                                                       $2,470,706                  $2,470,706                   $2,470,706
                                                                                                                                       Cumulative
3.      Statement of Cash Receipts & Disbursements for Month                Current Month               Prior Month                   (Case to Date)
        a. Total Receipts                                                              $7,645                    $794,895                     $853,872
        b. Total Disbursements                                                         $8,927                    $598,101                     $645,700
        c. Excess (Deficiency) of Receipts Over Disbursements (a - b)                 ($1,282)                  $196,794                      $208,172
        d. Cash Balance Beginning of Month                                           $217,190                     $20,496                     $237,686
        e. Cash Balance End of Month (c + d)                                         $215,908                    $217,908                     $433,816
                                                                                                                                        Cumulative
                                                                            Current Month               Prior Month                   (Case to Date)
4.      Profit/(Loss) from the Statement of Operations                            N/A                        N/A                           N/A
5.      Account Receivables (Pre and Post Petition)                                        $0
6.      Post-Petition Liabilities                                                          $0
7.      Past Due Post-Petition Account Payables (over 30 days)                             $0

At the end of this reporting month:                                                                              Yes                               No
8.    Have any payments been made on pre-petition debt, other than payments in the normal                                                x
      course to secured creditors or lessors? (if yes, attach listing including date of
      payment, amount of payment and name of payee)
9.    Have any payments been made to professionals? (if yes, attach listing including date of                                            x
      payment, amount of payment and name of payee)
10. If the answer is yes to 8 or 9, were all such payments approved by the court?
11. Have any payments been made to officers, insiders, shareholders, relatives? (if yes,                                                 x
      attach listing including date of payment, amount and reason for payment, and name of payee)
12. Is the estate insured for replacement cost of assets and for general liability?               x
13. Are a plan and disclosure statement on file?                                                                                         x
14. Was there any post-petition borrowing during this reporting period?                                                                  x

15.     Check if paid: Post-petition taxes x ;                      U.S. Trustee Quarterly Fees x       ; Check if filing is current for: Post-petition
        tax reporting and tax returns:       x .
        (Attach explanation, if post-petition taxes or U.S. Trustee Quarterly Fees are not paid current or if post-petition tax reporting and tax return
        filings are not current.)
I declare under penalty of perjury I have reviewed the above summary and attached financial statements, and after making reasonable inquiry
believe these documents are correct.



Date:      12/9/2020 0:00                                                   /s /Mordechai Koka
                                                                            Responsible Individual
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                                                                              BALANCE SHEET
                                                                        (Small Real Estate/Individual Case)
                                                                  For the Month Ended             09/30/20



                                                                                                                      Check if
                                                                                                                     Exemption
         Assets                                                                                                      Claimed on
                                                                                                                     Schedule C                       Market Value
            Current Assets
     1        Cash and cash equivalents (including bank accts., CDs, ets.)                                          x                                              $216,007
     2        Accounts receivable (net)
     3        Retainer(s) paid to professionals
     4        Other:
     5


     6                  Total Current Assets                                                                                                                       $216,007

            Long Term Assets (Market Value)
     7        Real Property (residential)
     8        Real property (rental or commercial)                                                                                                               $4,106,345
     9        Furniture, Fixtures, and Equipment                                                                    x                                                $7,400
    10        Vehicles                                                                                              x                                               $23,000
    11        Partnership interests
    12        Interest in corportations                                                                             x                                                          $1
    13        Stocks and bonds
    14        Interests in IRA, Keogh, other retirement plans
    15        Other:
    16

    17                  Total Long Term Assets                                                                                                                   $4,136,746

    18                  Total Assets                                                                                                                             $4,352,753

         Liabilities

            Post-Petition Liabilities

                  Current Liabilities
    19                Post-petition not delinquent (under 30 days)
    20                Post-petition delinquent other than taxes (over 30 days)
    21                Post-petition delinquent taxes
    22                Accrued professional fees
    23                Other:
    24

    25                  Total Current Liabilities                                                                                                                              $0

    26            Long-Term Post Petition Debt

    27                  Total Post-Petition Liabilities                                                                                                                        $0

            Pre-Petition Liabilities (allowed amount)
    28              Secured claims (residence)
    29              Secured claims (other)                                                                                                                       $2,463,061
    30              Priority unsecured claims
    31              General unsecured claims                                                                                                                          $7,645

    32                  Total Pre-Petition Liabilities                                                                                                           $2,470,706

    33                  Total Liabilities                                                                                                                        $2,470,706

         Equity (Deficit)

    34                  Total Equity (Deficit)

    35                  Total Liabilities and Equity (Deficit)                                                                                                   $2,470,706
         NOTE:
                  Indicate the method used to estimate the market value of assets (e.g., appraisals; familiarity with comparable market prices, etc.) and the date the value
                  was determined.




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                                     SCHEDULES TO THE BALANCE SHEET


                                                          Schedule A
                                                  Rental Income Information

     List the Rental Information Requested Below By Properties (For Rental Properties Only)

                                                                 Property 1               Property 2                Property 3
 1    Description of Property                                1702 Paru Alameda        858 Acalanes Road         3190 Vichy

 2    Scheduled Gross Rents                                               $7,645
      Less:
 3     Vacancy Factor
 4     Free Rent Incentives
 5     Other Adjustments


 6    Total Deductions                                                        $0                        $0                          $0

 7    Scheduled Net Rents                                                 $7,645                        $0                          $0

 8    Less: Rents Receivable (2)

 9    Scheduled Net Rents Collected (2)                                   $7,645                        $0                          $0


        (2) To be completed by cash basis reporters only.




                                                           Schedule B
                                         Recapitulation of Funds Held at End of Month

                                                                  Account 1                Account 2                Account 3
10   Bank                                                    Wells Fargo              Wells Fargo               Wells Fargo
                                                                           2053                     2061
11   Account No.                                             Paru account             Savings                   Attorney IOLTA
12   Account Purpose

13   Balance, End of Month                                                  $577                  $16,930                 $198,502

14   Total Funds on Hand for all Accounts                              $216,009




     Attach copies of the month end bank statement(s), reconciliation(s), and the check register(s) to the Monthly Operating Report.




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                                 STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS
                                               Increase/(Decrease) in Cash and Cash Equivalents
                                                     For the Month Ended      09/30/20

                                                                                                Actual                   Cumulative
                                                                                             Current Month              (Case to Date)
     Cash Receipts
1          Rent/Leases Collected                                                                      $7,645                      $50,062
2          Cash Received from Sales                                                                       $0                     $790,000
3          Interest Received
4          Borrowings
5          Funds from Shareholders, Partners, or Other Insiders
6          Capital Contributions
7                Deposits from odd jobs cash                                                                 $0                   $12,910
8                Transfers                                                                                                           $900
9
10
11

12               Total Cash Receipts                                                                  $7,645                     $853,872

     Cash Disbursements
13         Selling
14         Administrative
15         Capital Expenditures
16         Principal Payments on Debt
17         Interest Paid
           Rent/Lease:
18               Personal Property
19               Real Property                                                                        $5,088                      $34,764
           Amount Paid to Owner(s)/Officer(s)
20               Salaries
21               Draws
22               Commissions/Royalties
23               Expense Reimbursements
24               Other
25         Salaries/Commissions (less employee withholding)
26         Management Fees
           Taxes:
27               Employee Withholding
28               Employer Payroll Taxes
29               Real Property Taxes
30               Other Taxes
31         Other Cash Outflows:
32               living expenses                                                                      $1,290                       $6,333
33               CLSB FINES/ withdrawals                                                              $2,000                      $11,905

34               insurance                                                                              $549                            $875


35               Quarterly UST fees                                                                          $0                      $325
36               Disbursements from Escrow                                                                   $0                  $591,498

37               Total Cash Disbursements:                                                            $8,927                     $645,700

38 Net Increase (Decrease) in Cash                                                                    ($1,282)                   $208,172

39 Cash Balance, Beginning of Period                                                                $217,190                           $7,342

40 Cash Balance, End of Period                                                                      $216,007                     $216,007



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